Case 1:23-cv-00108-LMB-JFA Document 1132-11 Filed 08/06/24 Page 1 of 15 PageID#
                                   82814




                          Exhibit K
 (previously filed as Dkt. 660-11)
Case 1:23-cv-00108-LMB-JFA Document 1132-11 Filed 08/06/24 Page 2 of 15 PageID#
                                   82815
Case 1:23-cv-00108-LMB-JFA Document 1132-11 Filed 08/06/24 Page 3 of 15 PageID#
                                   82816
Case 1:23-cv-00108-LMB-JFA Document 1132-11 Filed 08/06/24 Page 4 of 15 PageID#
                                   82817
Case 1:23-cv-00108-LMB-JFA Document 1132-11 Filed 08/06/24 Page 5 of 15 PageID#
                                   82818
Case 1:23-cv-00108-LMB-JFA Document 1132-11 Filed 08/06/24 Page 6 of 15 PageID#
                                   82819
Case 1:23-cv-00108-LMB-JFA Document 1132-11 Filed 08/06/24 Page 7 of 15 PageID#
                                   82820
Case 1:23-cv-00108-LMB-JFA Document 1132-11 Filed 08/06/24 Page 8 of 15 PageID#
                                   82821
Case 1:23-cv-00108-LMB-JFA Document 1132-11 Filed 08/06/24 Page 9 of 15 PageID#
                                   82822
Case 1:23-cv-00108-LMB-JFA Document 1132-11 Filed 08/06/24 Page 10 of 15 PageID#
                                    82823
Case 1:23-cv-00108-LMB-JFA Document 1132-11 Filed 08/06/24 Page 11 of 15 PageID#
                                    82824
Case 1:23-cv-00108-LMB-JFA Document 1132-11 Filed 08/06/24 Page 12 of 15 PageID#
                                    82825
Case 1:23-cv-00108-LMB-JFA Document 1132-11 Filed 08/06/24 Page 13 of 15 PageID#
                                    82826
Case 1:23-cv-00108-LMB-JFA Document 1132-11 Filed 08/06/24 Page 14 of 15 PageID#
                                    82827
Case 1:23-cv-00108-LMB-JFA Document 1132-11 Filed 08/06/24 Page 15 of 15 PageID#
                                    82828
